          Case 1:18-cv-11657-ER Document 135 Filed 11/02/20 Page 1 of 2




                                                 October 29, 2020
The Honorable Edgardo Ramos
United States District Court                                                         , last page.
Southern District of New York
40 Foley Square
New York, NY 10007
Re: Christa McAuliffe Intermediate School PTO, Inc. v. Bill De Blasio, 18 CV11657 (ER)(OTW)
Your Honor:
We represent Plaintiffs in the above-referenced case, but write on behalf of both Plaintiffs and
Defendants. The parties write to request an amendment to the Civil Case Discovery Plan and
Scheduling Order that the Court approved on October 4, 2019 (Doc. 116). The scheduled end of
Phase I discovery in this case is Friday, October 30, 2020. However, due to the COVID-19 pan-
demic, production has slowed and the parties have not been able to meet many of the deadlines
or estimates set forth in the October 4, 2019, scheduling order. Plaintiffs and Defendants there-
fore mutually request that the scheduling order be amended to reflect the end of Phase I discov-
ery on March 1, 2021.

Most notably, Defendants’ production of the individual student data for the 2020 admissions cy-
cle was estimated to be produced this past May, but (due to COVID-19) was not produced until
early July. As a result, Plaintiffs’ expert report was not due until August 24, and Defendants’ ex-
pert report has not yet been produced. This has rendered it impossible for the parties to complete
discovery, including expert discovery and depositions, by October 30. Additionally, Defendants’
production of documents responsive to Plaintiffs’ Second Set of Requests for Production is not
yet complete, and the parties have a mutual understanding that Plaintiffs may seek to depose one
or more officials based on these documents.

For these reasons, the parties propose the following deadlines:

Plaintiffs’ expert witness to be deposed by December 31, 2020.

Defendants’ expert report to be served by November 30, 2020.

Any Requests for Production related to Defendants’ Expert Report to be served by December 7,
2020.

Defendants’ expert witness to be deposed by 45 days after responses to Requests for Production
related to Defendants’ Expert Report.

All documents responsive to Plaintiffs’ Second Set of Request for Production to be produced by
December 1, 2020.
             Case 1:18-cv-11657-ER Document 135 Filed 11/02/20 Page 2 of 2



    The Honorable Edgardo Ramos
    October 29, 2020
    Page 2

    All fact discovery (including non-expert depositions) to be completed by March 1, 2021.

                                                   Sincerely,



                                                   CHRISTOPHER M. KIESER*
                                                   GLENN E. ROPER*
                                                   Counsel for Plaintiffs
                                                   *Admitted Pro Hac Vice




The revised discovery deadlines are approved. A case management conference will be held on
March 4, 2021, at 10:00 a.m.

SO ORDERED.



                                                                11/2/2020
